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                 EXHIBIT 8
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                                                                      U.S. Department of Justice
                                                                      Criminal Division
                                                                      Office of International Affairs

                                                                     United States Embassy - Rome, Italy


Embassy Address:                   U.S. Mail:                        Tel.:    + 39 06 4674 2680
Via Vittorio Veneto 119/A          DOJ, Unit 9500, Box 23            Fax:     + 39 06 4674 2266
00187 Rome, Italy                  DPO AE 09624-0023                 Email:   cristina.posa@usdoj.gov


                                                                       May 25, 2016

         BYFEDEX
         Robert Leach
         Assistant United States Attorney
         U.S. Attorney's Office
         Northern District of California
         U.S. Attorney's Office
         450 Golden Gate A venue, 11th Floor
         San Francisco, CA 94102

         Re:      Materials Provided by the Italian Authorities in Relation to a Mutual Legal Assistance
                  Treaty Request in the Investigation involving Autonomy Corporation

         Dear Bob:

                 In response to the above-referenced MLAT request, enclosed please find a CD
         containing materials provided by Postecom S.p.a. and Poste Italiane S.p.a. and a related
         police report provided by Italian authorities. From our records, this MLA T request has now
         been completed.

                From our records, this MLAT request has been completed. Below we outline the
         appropriate use of the materials and your responsibilities as the requesting authority.

         I.       Authorized Uses of Materials

                The enclosed materials may be used in the investigation and prosecution of those
         persons and offenses for which assistance has been requested and granted. Any other use
         may violate the treaty. Article 8, paragraph 3 of the treaty provides as follows:

               The Requesting State may use any evidence or information obtained from the
         Requested State:

         a. for the purpose of its criminal investigations and proceedings;
         b. for preventing an immediate and serious threat to its public security;
         c. in its non-criminal judicial or administrative proceedings directly related to investigations
         or proceedings:
                      i. set forth in subparagraph (a); or
                      ii. for which mutual assistance was rendered under Article 1(1 bis) of this Treaty;




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d. for any other purpose, if the information or evidence has been made public within the
framework of proceedings for which they were transmitted, or in any of the situations
described in subparagraphs (a), (b) and (c); and
e. for any other purpose, only with the prior consent of the Requested State.
Should you anticipate the need to use the materials for any other purpose (i.e., a use not stated
in the request for assistance and/or not approved in the grant of assistance), please consult
this office to ascertain whether Italian authorization or approval can be secured.

II. Obligations of Requesting Authority

         A.      Secure a Translation of the Requested Materials
It is the responsibility of the requesting authority to secure a translation of these materials.
The requesting authority bears the costs for such translations.
         B.     Review Materials Promptly
Please examine all materials that you have received and notify the undersigned whether:
1.       the request has been satisfactorily executed and no further assistance from Italian
officials is needed; or
2.       the request has only been partially executed, identifying which specific materials
remain outstanding; and/or
3.       the request should be expanded to include additional assistance not previously
requested, providing a description and justification.
         C.      Evaluate Usefulness of Assistance

        Once you have used the materials, please provide an acknowledgment and an
assessment of the value of the assistance provided in a letter for this office to forward to the
Italian authorities. The prosecutor's acknowledgment that the materials provided were
received and were useful in criminal proceedings helps to ensure prompt cooperation with
subsequent requests.

        Should you anticipate the need to use the materials for any other purpose (i.e., a use
not stated in the request for assistance and/or not approved in the grant of assistance), please
consult this office to ascertain whether Italian authorization or approval can be secured.


      Please contact me or Legal Assistant Katarina Lawergren in Rome at (011) 39-06-
4674-2680 for further assistance.

                                                               Sincerely,

                                                               Vaughn A. Ary
                                                               Director
                                                               Office of International Affairs
                                                               Criminal Division
                                                               Department of Justice
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                                                       By:     Cristina M. Posa
                                                               Department of Justice Attache


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                          Dipartimento per gli Affari di Giustizia
                          Direzione Generate della Giustizia Penale
                       Ufficio II - Cooperazione Giudiziaria Internazionale
                                  PEC: prot.dag@giustiziacert.it
                              Email :ufficio 2.dgpenale.dag@giustizia.it
                                  Tel. 0668852180 - fax 0668897528
                                      Via Arenula 70 00186 Roma
                                          Area rogatorie

   Ns. riferimento/Our reference                      Vs. riferimentoNour reference
   33.4.5.20/2016.VD
   Rog. Passiva 2016 Usa
   Da citare nella risposta
   Please, quote our reference when replying           Roma,


~ A MEZZO MOTOCICLISTA                                  U.S. DEPARTMENT OF JUSTICE
                                                        presso l'AMBASCIATA DEGLI STATI
                                                        UNITI D' AMERICA - Via Sallustiana, 49
                                                        00187-ROM A
                                                        Ms Posa




   Allegati vari + supporto informatico

   OGGETTO: richiesta di assistenza giudiziaria intemazionale formulata dal Dipartimento
   di Giustizia degli Stati Uni ti d' America in data 17.12.2015 nell' ambito delle indagini per
   i reati di associazione a delinquere, truffa ed altro in relazione ad attivita poste in essere
   dalla "Societa Autonomy Corporation".




   Si allegano gli atti assunti dalle Autorita del Distretto di Roma, cosi come indicati nella
   Informativa redatta in data 28.4.2016 dalla Guardia di finanza di Roma




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                                        Guardia di Finanza
                                 NUCLEO POLIZIA TRIBUT ARIA ROMA                                       Pagina 2 di 4
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                              - RoQatoria internazionale n. 77/16 R.G. RoQ. C.A. -                                         -




              (2)      verbale di altre sommarie informazioni nei confronti di Maurizio DI PAOLO2,
                       responsabile della Funzione Amministrazione e Controllo;
              (3)      verbale di altre sommarie informazioni nei confronti di Claudio COLELLA3,
                       responsabile della Funzione Acquisti;
              (4)      verbale di altre sommarie informazioni redatto nei confronti di Fabio
                       SENSIDONl 4 , responsabile della Funzione Esercizio;
          b. POSTE ITALIANE Spa, con sede legale in Roma, viale Europa n. 190, esercente
             "altre attMta postali e di corriere" (partita IVA 01114601006), hanno redatto:
              (1)      nei confronti del presidente dell'Amministratore Delegate, con poteri di
                       rappresentanza legale della societa, Francesco CAIO5:
                       (a) relazione di notificazione dell'ordine di esibizione documentazione
                           emesso in data 18.04.2016;
                       (b) verbale di altre sommarie informazioni;
              (2)     verbale di acquisizione documentazione, redatto nei confronti di Paola
                      FERRETTl 6 , responsabile degli Affari Generali nell'ambito della Funzione
                      Affari Legali, comprensivo di n. 31 fogli progressivamente numerati;
              (3)      verbale di altre sommarie informazioni redatto nei confronti di Gianfranco
                       GODINO7, responsabile del Polo Tecnologico Lazio, Abruzzo e Sardegna;
              (4)      verbale di altre sommarie informazioni redatto nei confronti di Gianluca LO
                       RETO8, responsabile del Competence Center Supporto Offerta - Divisione
                       Sistemi lnformativi;
              (5)      verbale di altre sommarie informazioni redatto nei confronti di Roberto
                               9
                       UGOLINI , responsabile dello Sviluppo e Coordi namento Commerciale di
                       POSTE TRIBUTI Scpa;
              (6)     verbale di altre sommarie informazioni redatto nei confronti di Renzo DI
                      ANTONIO 10 , responsabile dell'Operation lnfrastrutture Tecnologiche e
                      Servizi Applicativi - Funzione Sistemi lnformativi;
              (7)     verbale di altre sommarie informazioni redatto nei confronti di Roberto
                      CAPPARUCCl 1. Account Manager Paste ltaliane MBPA (Mercato Business
                                     1

                      Pubblica Amministrazione );
              (8)     verbale di altre sommarie informazioni redatto nei confronti di Aldo
                                12
                      AN CORA , responsabile Assistenza Progetti d' Acquisto - Direzione
                      Acquisti;


     2
        Nate a Roma ii 15.03.1958 e ivi residente in via Giorgio Vigole n. 12.
     3
     4
        Nato a Roma ii 08.05.1965 e ivi residente in via Learco Guerra n. 55.
        Nato a Roma ii 26.01.1964 e ivi residente in via Tripolitania n. 211.
     5
     6
        Nate a Napoli ii 28.08.1957 e residents a Milano, via di Porta Tenaglia n. 5.
     7
        Nata a Macerata ii 04.06.1958, domiciliata per la carica presso la sede legale di POSTE ITALIANE Spa.
     8
        Nato a Nicastro (CZ) ii 20.07.1966 e residente in Roma, via delle Messi d'Oro n. 75.
        Nato a Roma ii 24.02.1962 e ivi residente in via Giuseppe Preziolini n. 5.
     9
        Nato a Roma ii 07.10.1965 e ivi residente in via Stresa n. 56.
     10
     11
         Nato a Teramo ii 25.10.1957 e residente in Roma, via Caffaro n. 50.
     12
         Nato a Roma ii 06.10.1967 e ivi residente in via Adriano Banchieri n. 58.
         Nato a Roma ii 22.08.1961 e ivi residente in largo Dell'Olgiata n. 15.

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                                                               Guardia di Finanza
                                                        NUCLEO POLIZIA TRIBUTARIA ROMA
                                       111 Gruppo Tutela Entrate - Sezione Altre Accise e lmposte sui Consumi
                                                      Via dell'Olmata n. 45 - 00184 Roma -Tel. 06/46681 - Fax 06/4744519
                                                          e-mail: rm210.protocollo@gdf.it PEC: rm2100000p@pec.gdf.it


                                 Guardia di Finanza
                                            Prot:   0191474/2018 ]
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                                            AOO: Lazio              :
                                            UOR: RM210



                           OGGETTO: Rogatoria internazionale n. 77/16 R.G. Rog. C.A., avanzata dall'A.G. U.S.A
                                    nel procedimento penale contra Autonomy Corporation Limited.

                                                Trasmissione atti.


                           ALL'AMBASCIATA DEGLI STATI UNITI D'AMERICA                                                       ROMA
                               (alla cortese attenzione di Cristina POSA- attache del Dipartimento della
                               Giustizia degli Stati Uniti)

                               • per conoscenza:

                           ~     LA CORTE DI APPELLO                                                             ROMA
                                    - Sezione Quarta Penale -
                                    - Ufficio lnvestigativo Rogatorie lntemazionali -
                                    (alla cortese attenzione del dott. Alfredo Mantovano - Consigliere Delegate)
                                    Riferimento delega in data 18.04.2016 e 20.04.2016.

                           1. In relazione alle attivita svolte nei giomi dal 21 al 26 aprile 2016, si consegnano gli atti
                              all'uopo compilati.
                                   In particolare, militari di questo Nucleo pt, con riferimento a:
                                   a. POSTECOM Spa, con sede legale in Roma, viale Europa n. 175, esercente "altre
                                      attivita di servizi connessi a tecnologie informatiche" (partita IVA 05838841004 },
                                      hanno redatto:
                                      (1)       nei confronti del presidente del Consiglio di Amministrazione, con poteri di
                                                rappresentanza legale della societa, Vincenzo POMPA1:
                                                (a) relazione di notificazione dell'ordine di esibizione documentazione
                                                    emesso in data 18.04.2016;
                                                (b) verbale di altre sommarie informazioni;
                                                (c) verbale di acquisizione documentazione, comprensivo di n. 111 fogli
                                                    progressivamente numerati;

                           1
                               Nato a Milano ii 26.12.1969 e residente in Roma, viale Tito livio n. 131.

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     ,-----,-----------------!!C.------------,----------,
                                                                                                                                         .
                                          Guardia di Finanza
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                                - Ro atoria internazionale n. 77/16 R.G. Rog. C.A. -

                        (g) elenco dei proprietari e inquilini dello stabile sito in Tivoli (RM), via A.
                            Scalpelli, 20;
                        (h) verbale di altre sommarie informazioni redatto nei confronti
                            dell'amministratore pro tempore della societa, CARREGA Leonardo
                            Sergio 19 ;
                        (i) verbale di altre sommarie informazioni redatto nei confronti di ZIGNANI
                            Gianluca 20 •
                                              '
                        U) Bilancio al 31.12.2009 della SALES CONSULTING SRL;
                        (k) Bilancio finale di liquidazione al 27.05.2010 della SALES CONSUL TING
                            SRL UNIPERSONALE IN LIQUIDAZIONE.

     2. Per l'Autorita Giudiziaria che legge per conoscenza, si consegna n. 1 CD-ROM
        contenente, in formato digitale "pdf', la documentazione indicata sub 1.

     3. Si prega di restituire ii duplo della presente in segno di ricevuta.




     :~ Nato a Genov~ ii 03.02.1952 e r~sident~ in Rom~, via Iberian. 19.
        Nato a Roma 11 10.01.1967 e rei:;1rli:mtA In Mnntnrif'\ Rf'\m<:>nn /RU\ .,;~ rl~I ~A~~~~--"- -   '>f'\ ,., A
                                                                                                                                       MLAT_AU 00004922
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          (9)      verbale di altre sommarie informazioni redatto nei confronti di Anna
                   GUANCIOLl 13 , responsabile della Funzione Amministrazione Finanza e                                                                         '
                   Controllo.
       c. AUXILIUM TECH Sri in fallimento (n. 469/2013), con sede legale in Roma, via
          Collatina n. 398, gia esercente l'attivita di "produzione di software non connesso
          all'edizione" (partita IVA 06205931006), hanno redatto:
           (1)     annotazione di polizia giudiziaria nella quale sono richiamati i seguenti atti:
                   (a) relata di notifica, verbale di acquisizione documentazione e verbale di
                       altre sommarie informazioni, redatti nei confronti del curatore
                       fallimentare, Avv. Marco ANTONELLl 14 ;
                   (b) verbale di altre sommarie informazioni redatto nei confronti del
                       rappresentante legale pro tempore, STRACQUALURSI Emanuela 15 ;
       d. R. & D. VENTURES Sri, con sede legale in Roma, via Seneca n. 22, esercente
          l'attivita de lie "holding impegnate nelle attivita gestionali" (partita IVA 1010661004 ),
          hanno redatto:
          (1)      nei confronti del legale rappresentante della societa, Afredo RICClO 16 :
                   (a) relata di notifica;
                   (b) verbale di acquisizione documentazione;
                   (c) verbale di altre sommarie informazioni;
       e. SALES CONSULTING - SRL UNIPERSONALE IN LIQUIDAZIONE, con sede
          legale in Roma, viale Erminia Spalla n.53, esercente l'attivita di "servizi di
          consulenza commerciale e informatica a/le imprese" (partita IVA 10588361005),
          hanno redatto:
           (1)     annotazione di polizia giudiziaria comprensiva dei seguenti atti:
                   (a) fascicolo storico estratto             in    data          19/04/2016                                 dalla       banca       dati
                       Infocamere/Telemaco;
                   (b) estratto dell'interrogazione alla ban ca dati Anagrafe del Comune di Roma
                       esperita nei confronti di RUBANO Saverio 17 ;
                   (c) estratto dell'interrogazione alla banca dati Anagrafe del Comune di Tivoli
                       esperita nei confronti di DE ANG ELIS Renzo 18 ;
                   (d) reperto fotografico dello stabile sito in Roma, Via E. Spalla n. 53;
                   (e) reperto fotografico dell'apparato citofonico dello stabile sito in Tivoli (RM),
                       via Silla Rosa De Angelis, 30;
                   (f) reperto fotografico dell'apparato citofonico dello stabile sito in Tivoli (RM),
                       via A. Scalpelli, 20;

  13
     Nata a Varese ii 18.11.1959 e residente in Roma, largo Dell'Olgiata n. 15.
  14
     Nato a Roma ii 26.04.1957 e ivi residente in via G. Mameli n. 40.
  15
     Nata a Frosinone 1'11.05.1968 e residente in Roma, via Francesco d'Ovidio n. 43.
  16
     Nato ad Anzio (RM) ii 15.10.1950 e residente in Roma, via dei Marescatti n. 7.
  17
     Nato a Foggia ii 23.02.1948 e deceduto in data 17.06.2012.
  18
     Nato a Roma ii 28.01.1947, gia residente in Tivoli (RM) via S.R. De Angelis n. 30, cancellato, in data 25.06.2015,
                      -            -   •   •   •   ••                 _ _ U! _______ -   _!L!l!J._.!._   _ _ _ _ _ . __ _r. _ _ ll


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